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WESTERN DIVISION \
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UNITED STATES OF AMERICA,
Plaintil"f,
vs. . 05 ,\U/ll
r
ES IVY
JAM ’ _ 7 ` UJO§¥ PHers 1061 611111.1`11 " ““
' 1 ~ DISTRICT JUDGE
Def`endant. ’ T .-{

3/ 8095`
__ MOTION FOR CONTINUANCE

11 1

_COMES NOW, James Ivy, by and through counsel, Ster)hen R. Leffler, Who would hereby
request a continuance of the defendant’s report date in this cause now scheduled for June 24, 2005.
AS grounds for this motion, defendant would respectfully state and show unto the Court as follows:

1. A report date in this cause is set for Friday, J urie 24, 2005 at 9:00 a.m. in Memphis
Shelby County, Tennessee.

2. Counsel for defendant, Stephen R. Leffler, is scheduled to teach a continuing legal
education seminar on that date in east Memphis.

WHEREFORE, PREMISES CONSIDERED, defendant hereby requests that the Court grant

a continuance of the hearing scheduled for Friday, June 24, 2005 at 9:00 a.m. to accommodate

counsel’s obligations to the seminar.

Thls document entered on the docket shea n
with F‘-.ule 55 and/or 32{11) FHCrP on

Case 2:05;cr-20188-.]PI\/| Document 19 Filed 06/21/05 Page 2 of 3 Page|D 22

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Respectt`ully submitted, *

 

am R. Lefner (1 038)
Attorney for Defen
707 Adams Ave.
Memphis, Ten ssee 38105
(901) 527-8830

   

Certificate of Service

l l
I hereby certify that I have served a copy of the foregoing upon Ms. Catrina Earley, 800

Federal Building, Memphis, Tennessee, 38103, this day of , 2005.

 

  

UNITED sTATE DRISTIC COURT - WESTER D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice conflrms a copy of the document docketed as number 19 in
case 2:05-CR-20188 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

